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                    EXHIBIT 1
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                    Case No.: 1:22-cv-23223-GAYLES

   VENUS CONCEPT USA, INC., a
   Delaware corporation,

            Plaintiff,
   v.

   EXOTIC V’S BEAUTY BAR AND SPA,
   a California company, and VICTORIA
   NABORNE, an individual,

         Defendants.
   ___________________________________/

                       DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION
                      FOR ENTRY OF CLERK’S DEFAULT AS TO DEFENDANTS

   I, David M. Robbins, Esq., pursuant to 28 U.S.C. §1746, declare as follows:

            1.        I am an attorney at Lewis Brisbois Bisgaard & Smith, LLP and represent Plaintiff,

   Venus Concept USA, Inc. (“Plaintiff”), in the above-referenced action, and I am familiar with the

   file, records, and pleadings in this matter.

            2.        On August 2, 2022, Plaintiff filed a five-count complaint (the “Complaint”) against

   Defendants, Exotic V’s Beauty Bar and Spa and Victoria Naborne.

            3.        On April 3, 2023, Defendants were served the summons, a copy of the Complaint,

   and all other initial filings in this case. See ECF Nos. 8, 9.

            4.        A response to the Complaint from Defendants was due on April 24, 2023.

            5.        Defendants have failed to appear, plead, or otherwise defend within the time

   allowed and, therefore, are now in default.

            6.        Plaintiff requests that the Clerk of the Court enter defaults against Defendan ts.




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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on May 5, 2023.
                                                                 /s/ David Robbins _____________
                                                                 David Robbins




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